        Case:
      Case    22-15526, 08/14/2023, Document
           2:21-cv-01193-JAD-EJY    ID: 12773873,
                                              59 DktEntry:  37, Page
                                                  Filed 08/14/23     1 of
                                                                  Page  11of 1




                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                        AUG 14 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
7321 WANDERING STREET TRUST,                   No.    22-15526

                Plaintiff-Appellant,           D.C. No.
                                               2:21-cv-01193-JAD-EJY
 v.                                            District of Nevada,
                                               Las Vegas
NEW RESIDENTIAL MORTGAGE LOAN
TRUST 2020-NPL2,                               ORDER

                Defendant-Appellee,

and

FIRST AMERICAN TRUSTEE
SERVICING SOLUTIONS, LLC; NEVADA
LEGAL NEWS,

                Defendants.

      The court is of the unanimous opinion that the facts and legal argument are

adequately presented in the briefs and record, and the decisional process would not

be significantly aided by oral argument.

      Therefore, this matter is ordered submitted on the briefs and record without

oral argument on October 2, 2023, in Las Vegas, Nevada. Fed. R. App. P.

34(a)(2).

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT
